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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                   Judge Raymond P. Moore


 Case No. 17-mc-00062-RM

 RIFLE REMEDIES, LLC,

        Petitioner,

 v.

 UNITED STATES OF AMERICA,

        Respondent.

 ______________________________________________________________________________

                                    ORDER
 ______________________________________________________________________________

        On June 6, 2017, petitioner Rifle Remedies, LLC (“petitioner”) filed an Amended Petition

 to Quash Summonses (“the petition”) against respondent the United States of America

 (“respondent”), seeking to have quashed a summons (“the summons”) issued by the Internal

 Revenue Service (“IRS”) on April 11, 2017 to third-party the Marijuana Enforcement Division of

 the Colorado Department of Revenue (“MED”), as well as an evidentiary hearing. (ECF No. 8.)

        Pending before the Court is respondent’s Renewed Motion to Dismiss and Enforce

 Summons,     pursuant      to   Fed.R.Civ.P.   12(b)(6)   (“Rule   12(b)(6)”)   and   26   U.S.C.

 §§ 7604(a), 7609(b)(2)(A). (ECF No. 13.) Petitioner has filed a response (ECF No. 20), and

 respondent has filed a reply (ECF No. 21).

 I.     Legal Standard

        The Tenth Circuit Court of Appeals has explained the legal standards for an action such as

 the present as follows:




                                                 EXHIBIT 9
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                  When a party challenges a summons, the IRS is allowed to bring an
         enforcement proceeding. 26 U.S.C. § 7604. To obtain enforcement, the IRS ‘must
         meet the standards set out in United States v. Powell, 379 U.S. 48, 85 S.Ct. 248, 13
         L.Ed.2d 112 (1964).’ United States v. Balanced Fin. Mgmt., Inc., 769 F.2d 1440,
         1443 (10th Cir. 1985) (further citations omitted). Powell requires the IRS to show
         that (1) the investigation will be conducted pursuant to a legitimate purpose, (2) the
         information sought may be relevant to that purpose, (3) the information sought is not
         already in the IRS’s possession, and (4) the administrative steps required by the
         Internal Revenue Code have been followed. Id.

                The government’s burden at this stage ‘is a slight one because the statute
         must be read broadly in order to ensure that the enforcement powers of the IRS are
         not unduly restricted.’ Balanced Fin. Mgmt., 769 F.2d at 1443. Compliance with the
         Powell factors is usually established by the affidavit(s) of the person(s) who issued
         the summons. Id.

                 The burden then shifts to the party resisting enforcement. The burden is a
         heavy one. Id. at 1444. Unless [petitioner] can show that enforcement would
         ‘constitute an abuse of the court’s process, or that in issuing the summons the IRS
         lacked institutional good faith,’ the summons must be enforced. Anaya v. United
         States, 815 F.2d 1373, 1377 (10th Cir. 1987) (citation and internal quotation marks
         omitted).

                 In meeting this burden, neither ‘legal conclusions nor memoranda of law will
         … suffice.’ Balanced Fin. Mgmt., 769 F.2d at 1444 (internal quotation marks
         omitted). Instead, [petitioner] ‘must factually oppose the Government’s allegations
         by affidavit.’ Id. (internal quotation marks omitted). If [petitioner] ‘cannot refute the
         government’s prima facie Powell showing or cannot factually support a proper
         affirmative defense, the district court should dispose of the proceeding on the papers
         before it and without an evidentiary hearing.’ Id. (internal quotation marks omitted).

 Villareal v. United States, 524 F. App’x 419, 422-423 (10th Cir. 2013) (unpublished) (alterations

 omitted).1

 II.     Discussion

         A.      Powell


         1
           The parties spend some time discussing whether a summary judgment standard or motion to
 dismiss standard apply to this proceeding. (ECF No. 20 at 9-10; ECF No. 21 at 2.) To the extent this an
 argument between the parties, the Court finds that Powell and the Tenth Circuit’s application of that
 decision govern the instant matter.

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                1.      Purpose

        The declaration from IRS Revenue Agent Jean Walker (“Walker”) satisfies respondent’s

 slight burden of establishing a legitimate purpose for its investigation. Notably, in her declaration,

 Walker stated that she is investigating petitioner’s federal tax liabilities, and the purpose of the

 summons is to verify petitioner’s financial records and to determine whether information reported

 in petitioner’s tax returns can be substantiated. (ECF No. 5-1 at ¶¶ 4, 15.) The Court, thus, finds

 the IRS’ investigation to have a legitimate purpose.

        Petitioner’s apparent contentions to the contrary miss the mark. The principal purported

 illegitimate purpose with which petitioner appears to be concerned is the alleged criminal

 investigation being conducted by the IRS. (See ECF No. 20 at 8, 14-15; ECF No. 8 at 10-12.) The

 Court will not repeat the points it has already made in this regard in another case. See generally

 Alpenglow Botanicals, LLC v. United States, 2016 WL 7856477 (D. Colo. Dec. 1, 2016) (RM).

 Suffice to say, the Court does not find that the IRS is engaging in a criminal investigation when it

 investigates, for purposes of 26 U.S.C. § 280E (“§ 280E”), whether a business involves trafficking

 in a controlled substance. The purpose of such an investigation, as the statutory provision provides,

 is to determine whether a business is entitled to a deduction or credit; not to determine whether a

 business (or its proprietors) may be subject to criminal prosecution. See 26 U.S.C. § 280E.

 Moreover, none of the arguments that petitioner makes in this case have changed the Court’s

 opinion. As such, the Court rejects petitioner’s argument in this regard.

        Petitioner’s next argument, to the extent it can be construed as an illegitimate purpose

 argument, is that respondent cannot force MED, an alleged arm of the State of Colorado, to do

 anything by way of this action. (See ECF No. 20 at 11-13.) As respondent contends in reply,


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 however, such an argument is simply inconsistent with federal law. (See ECF No. 21 at 3-4.)

 Notably, 26 U.S.C. § 7609(b)(2) provides that, when a person proceeds to quash a summons, the IRS

 may seek to compel compliance with the summons, and, whether or not the person summoned (here,

 MED) appears in such a proceeding, the person summoned will be bound by the same. Moreover,

 given that it is the federal government that is seeking compliance with the summons, the case to

 which petitioner cites involving a private party is simply inapplicable. See Fed. Maritime Comm’n

 v. South Carolina State Ports Auth., 535 U.S. 743, 764, 122S.Ct. 1864 (2002).

        Petitioner’s next argument, again to the extent it is an illegitimate purpose argument, is that

 the IRS is seeking to force MED to create reports that do not otherwise exist. (See ECF No. 20

 at 13-14.) In reply, respondent asserts that it is simply summoning MED to print “specific reports”

 from a database of information MED already possesses. (ECF No. 21 at 4-5.)

        Put simply, the summons requests what the summons requests. Should the items requested

 exist and be in MED’s possession, then MED should be expected to produce that which has been

 requested. To take the analogy used by respondent, should MED possess something akin to a bank

 statement (see ECF No. 21 at 4)—i.e., something which is produced by a bank as a matter of course

 with respect to an account holder—containing the information respondent seeks, then compliance

 with the summons should be expected. If, however, the summons should require MED to produce

 a report that it would not ordinarily or otherwise produce from its database of information, then

 respondent very well may find itself having to process that information itself. In other words, in such

 a situation, MED may only need to produce the entirety of the database of information because that

 is the only document or data source that MED has created and possesses. Merely because MED

 could produce a report from its database does not mean that it has or that respondent can force MED



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 to do so.2 See United States v. Euge, 444 U.S. 707, 717 n.11, 100 S.Ct. 874 (1980) (noting that,

 although the IRS had authority to seek handwriting exemplars, the Supreme Court expressed “no

 opinion on the scope of the [IRS’] authority to otherwise order [a] witness to generate previously

 nonexistent documentation”). Based upon the statements in respondent’s reply, it does not appear

 that respondent wishes MED to create anything. (See ECF No. 21 at 4.) In this light, the Court does

 not find this issue to be one that turns respondent’s purpose with respect to its investigation into

 something illegitimate.

         Petitioner’s next argument is that, in requesting “Transfer Reports,” respondent may be

 attempting to obtain the identities of third parties who have dealt with petitioner, which would

 convert the summons into a John Doe summons subject to 26 U.S.C. § 7609(f). (ECF No. 20

 at 14-15.) Petitioner does not put much meat on the bone of this speculation. In any event, the Court

 agrees with the arguments in respondent’s reply that this is a non-issue. (See ECF No. 21 at 6-7.)

 In particular, § 7609(f) only applies when the summons does not identify the person with respect to

 whose liability the summons is issued. 26 U.S.C. § 7609(f). Here, petitioner makes no argument,

 nor could it, that the identity of the person with respect to whose liability the summons was issued

 is not petitioner and petitioner alone. As a result, § 7609(f) does not apply.

         Petitioner’s final potential legitimate purpose argument is that respondent has failed to

 comply with a Freedom of Information Act (“FOIA”) request, and, as a result, the Court should

 presume that the information that has not been disclosed is unfavorable to respondent. (See ECF



         2
            Again using respondent’s analogy, merely because a bank may produce a bank statement for an
 account holder does not mean that the bank must perform a search through the data therein to produce a
 different set of information, at least not when the bank would not ordinarily or otherwise do so. Rather, it
 would appear to be the IRS’ responsibility to sort through the produced bank statement to obtain that which
 it is looking for.

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 No. 20 at 16-17.) Petitioner asserts that it has requested information related to coordination between

 the IRS and the Department of Justice in investigating the federal criminal drug laws. (Id. at 16.)

 This argument clearly pertains to petitioner’s principal argument that the IRS is conducting criminal

 investigations without authority to do so. (See id.) As mentioned supra, the Court has rejected that

 argument, and nothing that may be turned over under the FOIA request would change the Court’s

 opinion. Simply put, even if the IRS is withholding information, showing that it is coordinating with

 the Department of Justice to investigate whether the federal drug laws have been violated, that would

 not change the Court’s finding that the IRS’ investigation into whether § 280E applies to petitioner

 is not a criminal investigation.

                2.         Relevance

        Walker’s declaration sufficiently establishes that the information sought pursuant to the

 summons would be relevant to the purpose of the IRS’ investigation into petitioner. As discussed

 supra, Walker stated that the summons will be helpful in verifying the information petitioner

 reported on its tax returns. (ECF No. 5-1 at ¶¶ 15, 22.) Petitioner does not contest this part of the

 Powell test (see generally ECF No. 20), and thus, the Court finds that respondent has satisfied its

 burden in this respect.

                3.         Possession

        Walker’s declaration sufficiently establishes that the IRS does not possess the information

 it seeks pursuant to the summons. Notably, Walker stated that the IRS “does not already possess the

 books, papers, records, and other data sought by the summons issued to MED.” (ECF No. 5-1 at

 ¶ 21.) In a far from clear fashion, in response, petitioner argues that the IRS does possess the

 information it is seeking to summons. (See ECF No. 20 at 14.) It appears that petitioner believes



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 that the IRS has obtained “xls files,” these files contain private taxpayer information, and they are

 large enough to contain the information “of most if not all of the licensees.” (Id.) Construing

 petitioner’s argument liberally, it, at best, is merely rank speculation. Moreover, there is no assertion

 that the IRS possesses the specific information that it has requested in the summons. Therefore, the

 Court rejects any argument that the IRS possesses the information it seeks pursuant to the summons.

                 4.      Administrative Steps

         Walker’s declaration establishes this part of the Powell test. Notably, Walker stated that she

 complied with the administrative steps required by the Internal Revenue Code in issuing and serving

 the summons. (ECF No. 5-1 at ¶ 23.) Petitioner does not contest this statement in its response. (See

 generally ECF No. 20.) As a result, the Court finds that respondent has met the fourth and final part

 of the Powell test.

         B.      Petitioner’s Burden

         Respondent having established its burden under Powell, the burden shifts to petitioner.

 Villareal, 524 F. App’x at 422. More specifically, unless petitioner “can show that enforcement

 would constitute an abuse of the court’s process, or that in issuing the summons the IRS lacked

 institutional good faith, the summons must be enforced.” Id. (quotation omitted).

         To the extent petitioner’s arguments, which the Court construed supra as challenging the

 purpose of the IRS’ investigation, can be construed as attempting to satisfy petitioner’s burden of

 showing that enforcement of the summons will be an abuse of process or that the IRS lacked

 institutional good faith, the Court rejects those arguments for the same reasons discussed supra.

 Notably, those arguments are based upon rank speculation, on a lack of facts, or a combination of




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 both. This is simply insufficient. See id. at 423. As a result, the Court finds that petitioner has

 failed to satisfy its burden under Powell.

 III.    Conclusion

         Accordingly, the Court DENIES the Amended Petition to Quash Summonses, including the

 request for an evidentiary hearing (ECF No. 8) and GRANTS the Renewed Motion to Dismiss and

 Enforce Summons (ECF No. 13) to the extent that the Court shall ENFORCE the April 11, 2017

 summons issued to MED on the grounds and for the reasons set forth herein.3

         SO ORDERED.

         DATED this 26th day of October, 2017.



                                                            BY THE COURT:



                                                            ____________________________________
                                                            RAYMOND P. MOORE
                                                            United States District Judge




         3
            Given that the Court discussed supra that motion-to-dismiss principles do not apply in the context
 of the instant proceeding, the Court DENIES AS UNNECESSARY the Renewed Motion to Dismiss and
 Enforce Summons to the extent it moves for dismissal pursuant to Fed.R.Civ.P. 12(b).

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